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Via ECF

November 8, 2021


The Hon. Victor Marrero
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007


RE:           In re European Gov’t Bonds Antitrust Litig., No. 19-cv-2601-VM (S.D.N.Y.)

Dear Judge Marrero:

We write on behalf of Moving Defendants 1 to respectfully inform the Court of a recent decision
that strongly supports the proposed motions to dismiss the FAC (Dkt. No. 206). On October 25,
2021, Judge Liman dismissed with prejudice a putative class action complaint alleging that
several financial institutions conspired to boycott trading platforms in the market for odd-lot
corporate bonds in violation of the Sherman Act. See Litovich v. Bank of Am. Corp., No. 20-cv-
3154, 2021 WL 4952034 (S.D.N.Y. Oct. 25, 2021) (“Odd-Lots,” attached as Ex. A.). The
decision is directly relevant to Moving Defendants’ proposed motions because (i) in assessing
the plausibility of the alleged conspiracy, it rejected the same types of average and aggregate
statistical analyses relied on by Plaintiffs here, and (ii) in assessing whether the claims were
timely, it held that the plaintiffs could not establish fraudulent concealment based on the same
general statements in the defendants’ corporate codes of conduct on which Plaintiffs rely here.

Statistical Analyses

Plaintiffs in Odd-Lots presented the same types of statistical analyses as Plaintiffs allege in the
FAC: (a) comparisons between defendants’ aggregate average spreads and non-defendants’
aggregate average spreads, and (b) comparisons between individual defendants’ average spread
differentials and non-defendants’ aggregate average spread differentials. The court found these
comparisons did not support plaintiffs’ claims and dismissed the complaint, concluding that
plaintiffs “fail[ed] to present any statistical evidence . . . plausibly suggesting that Defendants

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 “Moving Defendants” are all defendants named in the Fourth Amended Complaint (“FAC,” Dkt. No. 146) except
State Street Bank and Trust Company and State Street Corporation.




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each, or all . . . were not competing amongst each other.” Ex. A at *20. Plaintiffs’ statistical
analyses in the FAC are similarly deficient.

First, the Odd-Lots court found that statistical analyses purporting to show that average spreads
for “the Defendant group as a whole” were wider than average spreads for “the non-Defendant
group as a whole” “do not say anything meaningful about the role of any individual Defendant
and thus about the group of Defendants as a whole.” Id. FAC Figure 11 suffers from the same
fatal flaw. See FAC ¶¶ 296-99, Fig. 11. As in Odd-Lots, Figure 11 simply “compare[s] average
spreads . . . amongst all Defendants to average spreads . . . amongst all non-Defendant dealers,”
without “analyz[ing] whether each Defendant on average charges more for a[] . . . transaction
than every non-Defendant or even whether a majority of Defendants charge more than the
average non-Defendant.” Ex. A. at *20. The use of averages makes it “impossible to know from
Plaintiffs’ statistics whether the average for the Defendant group is driven by one particular
dealer who charges a higher spread than the remainder and whose trades drive the average or
whether the average for the non-Defendant group too is driven by one or a small group of dealers
who charge a lower spread.” Id. Figure 11 thus provides no support for Plaintiffs’ claims.2

Second, the Odd-Lots court held that the comparison of spread differentials for individual
defendants to a single average of all non-defendants’ spread differentials did not cure these
flaws. Id. By “utiliz[ing] an average of all non-Defendant dealers as a comparator,” the
plaintiffs gave the court “no way to infer from this that each Defendant’s pricing differentials
were higher than those of every non-Defendant dealer, or even that each Defendant’s pricing
differentials were higher than those of a majority of non-Defendant dealers.” Id. Here, Figure
12—the FAC’s only Defendant-specific analysis—suffers from the same flaw because it
purports to compare the average spreads in Italian EGBs for seven individual Defendants to a
single average figure for all “Non-Defendant Dealers.” FAC ¶¶ 300-04, Fig. 12. As in Odd-
Lots, there is no way to tell, for example, whether this single average figure for Non-Defendant
Dealers is skewed by an outlier, or whether any of these dealers experienced an even greater
change in spreads than all of the Defendants.

Third, the Odd-Lots court also held that the analysis that included individual defendant spreads
suffered from additional defects because the table omitted two defendants and because “the
significant disparity between the numbers presented for each of the eight individual Defendants
included in the table undercuts the assumption that Defendants’ odd-lot pricing was
supracompetitive . . . .” Ex. A at *20. The court observed, for example, that this analysis

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  These flaws are highlighted by comparing different versions of Plaintiffs’ averages across different iterations of the
Complaint. In the Third Amended Complaint’s (“TAC,” Dkt. No. 87) version of Figure 11, for example, Plaintiffs
included Citi, Jefferies, and JPMorgan in the “non-Defendant” group and argued that these non-Defendants’ average
spreads were benign compared to the Defendants’ spreads. After adding these three entities as defendants in the
FAC, Plaintiffs moved their bid-ask spread averages into the defendant bucket and argued that the average spreads
of all Defendants, now including Citi, Jefferies and JPMorgan, were suspiciously wide. Plaintiffs thereby
demonstrated the very flaw that caused the court to reject the averages in Odd-Lots: they say nothing about whether
any entity (or all entities) should be in either group and can be manipulated to conform to any alleged theory of
competitive impact a plaintiff wishes to posit.




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showed one defendant’s average markdown as 83.7 basis points whereas another defendant’s
average markdown was 27.3 basis points, and that “[t]his pricing disparity is consistent with a
market in which Defendants competed for odd-lot business by improving execution prices . . . .”
Id. (citation and internal alterations omitted). Similarly, Figure 12 in the FAC omits three
defendants and, for those defendants it does include, shows a wider variation than the variation
in Odd-Lots, with the average reduction in spreads for Italian EGBs ranging from 3.51% to
66.42%. FAC ¶¶ 300-04, Fig. 12. As in Odd-Lots, the omission of some Defendants and the
wide variation across the remaining Defendants suggest a competitive market, not a conspiracy.

In short, Odd-Lots underscores the inherent flaws in using the same type of averages that were
identified in Moving Defendants’ pre-motion letters. As shown in Moving Defendants’ pre-
motion letters, just moving certain New Defendants from the non-Defendant category in the
TAC to the Defendant category in the FAC caused Plaintiffs to do an about-face regarding what
statistical information is indicative of a conspiracy. And in making those changes, Plaintiffs
undermined the economic analyses on which the Court relied in assessing the Third Amended
Complaint. See TAC Defendants’ Pre-Motion Letter (Dkt. No. 206-1). The statistical analyses
in the FAC thus do not provide a plausible basis to infer wrongdoing.

Statute of Limitations

The Odd-Lots court also held that the plaintiffs’ claims were time-barred and rejected the same
code-of-conduct-based fraudulent concealment allegations made here. The plaintiffs there
alleged that defendants took “affirmative steps to throw Plaintiffs off of their scent” by adopting
“detailed codes of conduct promising” that “their operations were above-board, providing a
false sense of security to corporate bond investors.” Ex. A at *28 (emphasis added). The Odd-
Lots court held that the plaintiffs could not rely upon those statements to excuse their failure to
uncover the purported conspiracy for two independent reasons: (i) “there is no evidence here
that Defendants’ general representations of ethical behavior in their codes of conduct were
directed at Plaintiffs” and (ii) “general statements about . . . compliance with ethical norms are
. . . ‘too general to cause a reasonable investor to rely upon them.’” Id. (quoting City of Pontiac
Policemen’s & Firemen’s Ret. Sys. v. UBS AG, 752 F.3d 173, 183 (2d Cir. 2014)).

Here, Plaintiffs’ code-of-conduct-based fraudulent concealment allegations are indistinguishable
from the allegations in Odd-Lots. See FAC ¶ 380 (“Defendants also took active steps to conceal
evidence of their misconduct [because their] codes of conduct represented that their operations
were above board, providing a false sense of security to unwitting investors.”) (emphasis added).
Moreover, Defendants’ codes of conduct are just as general and were made to just as wide of an
audience. Therefore, Plaintiffs cannot excuse their failure to conduct due diligence based upon
Defendants’ general statements about compliance with the law because those statements were
not made directly to Plaintiffs and are far too general for a reasonable investor to rely upon them.




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Respectfully submitted,

       /s/ Richard F. Schwed

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